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                        IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS, AUSTIN DIVISION


    DR. JEROME CORSI, et. al.

                     Plaintiff(s),
                                                                  Case No.: 1:20-cv-00298-LY
    v.

    INFOWARS, LLC et. al.,

                     Defendant(s)


                   DEFENDANT ROGER STONE’S REPLY TO PLAINTIFF’S
                        RESPONSE TO THE MOTION TO DISMISS

         Defendant, Roger Stone, through counsel files this reply to the response to motion to

dismiss the amended complaint. (Plaintiffs’ response, ECF No. [79]).

         Plaintiffs missed their last opportunity to seek court approval to amend and insufficiently

explain how their complaint survives Stone’s motion to dismiss. Plaintiffs neglect to address

dispositive arguments made in Stone’s motion to dismiss. ECF No. [70]. This case cannot

survive in Texas when Plaintiffs failed to give written notice to correct as required under the

Texas Defamation Mitigation Act and the substantive claims are beyond the one-year the statute

of limitations for defamation and related causes of action. Plaintiffs’ common law assault and

emotional distress claims are frivolous since no parties were alleged to be in Texas when these

torts occurred. As a matter of failure to state defamation claims, Stone’s comments were true,

opinion, a satirical swipe at plaintiffs, or not made with malice. Article III or prudential standing

to sue under the Lanham Act cannot survive because the statute applies to commercial speech

relating to deceptive advertising. The amended complaint is also a “shotgun” pleading.
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         Klayman at present is a lawyer. He, most of the time, is Corsi’s lawyer. Neither should

get the benefit of a pro se plaintiff’s latitude when pleading a complaint. The amended complaint

must be dismissed.

    I.        The Four Corners of the Complaint

         Plaintiffs use their response to the motion to dismiss to dump declarations and documents

in the public record, and continue a scurrilous campaign against Stone. “At this early pleading

stage, our factual universe is bounded by the four corners of the complaint." Morgan v. Swanson,

659 F.3d 359, 401 (5th Cir. 2011) (citation omitted). “Furthermore, ‘it is axiomatic that a

complaint cannot be amended by briefs in opposition to a motion to dismiss.’” In re Enron Corp.

Sec., Derivative & ERISA Litig., 761 F. Supp. 2d 504, 566 (S.D. Tex. 2011) & n. 59 (“four

corners”) (citations omitted). Thus, this Court should discard Plaintiffs’ filed declarations and

other exhibits.1

         Plaintiffs complain that defendants defamed them. Interestingly, plaintiffs use the

response to the motion to dismiss to defame Stone. Another example is, plaintiffs allege outside

of the complaint that Stone “paid individuals as surrogates.” (Response pg. 1). No such

allegations were made in the amended complaint. Stone never paid anyone to defame Plaintiffs.

While plaintiffs conclude, without plausible allegations, there was a conspiracy; they do not

allege that as a cause of action. The other scandalous allegations were brought to the Court’s

attention in the motion to dismiss. ECF No. [70].


1
  Stone cites to the Mueller Report. (Motion pg. 19, ECF No. [70]). The existence of the Mueller Report “is not
subject to reasonable dispute because it[s existence] ... can be accurately and readily determined from sources whose
accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b). And there is not a hearsay issue because the
Mueller Report could be admitted under the public records exception. See Fed. R. Evid. 803(8) (“A record or
statement of a public office [is not excluded by the rule against hearsay] if ... it sets out ... in a civil case or against
the government in a criminal case, factual findings from a legally authorized investigation[ ] and ... the opponent
does not show that the source of information or other circumstances indicate a lack of trustworthiness.”).
Democratic Nat'l Comm. v. Russian Fed'n, 392 F. Supp. 3d 410, 425 (S.D.N.Y. 2019).


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    II.       Plaintiffs Lack Article III and Prudential Standing under the Lanham Act

           Plaintiffs failed to support their burden they have standing to sue. See Lujan v. Defenders

of Wildlife, 504 U.S. 555, 560 (1992)). Plaintiffs were not injured “in connection with any goods

or services.” Utah Lighthouse Ministry v. Found. for Apologetic Info. & Research, 527 F.3d

1045, 1051–52 (10th Cir. 2008). “The Lanham Act is intended to protect the ability of consumers

to distinguish among competing producers.” Id. at 1053 (citations omitted). Klayman questions

who would hire him as a lawyer or as a commentator if he never had a courtroom victory. Being

a lawyer or commentator is not a “service” as contemplated by the Lanham Act. The same

analysis applies to Corsi. Neither plaintiff alleges how the parties are in competition with each

other as it relates to a good or service; thus, the cause of action fails as a matter of standing. See

Logan v. Burgers Ozark Country Cured Hams Inc., 263 F.3d 447, 460 (5th Cir. 2001).

           Prudential standing must allege false advertising. When describing prudential standing

the Fifth Circuit said: “. . . [I]n light of the competitive relationship between the parties, there is a

sufficiently direct link between the asserted injury and the alleged false advertising.” Procter &

Gamble Co. v. Amway Corp., 242 F.3d 539, 562–63 & n. 51 (5th Cir.2001) (citing Restatement

(Third) of Unfair Competition § 3 cmt. f (1995)) (emphasis added). Plaintiffs ignore that a

deception must be in false advertising. There was no advertising in question. The subject

remarks were commentary as part of a radio show. Because the Lanham Act cause of action must

be dismissed, this Court does not have federal question jurisdiction.

    III.      Plaintiffs’ Lanham Act cause of action must be dismissed

           The Lanham Act does not have a specific statute of limitations. Occidental Life Ins. Co.

of Cal. v. EEOC, 432 U.S. 355, 367, 97 S. Ct. 2447, 53 L.Ed.2d 402 (1977), superseded by

statute on other grounds, 29 C.F.R. § 1601.28 (1995). Plaintiffs claim in Texas, the statute of



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limitations under the Lanham Act is four-years. Plaintiffs do not deal with Stone’s argument.

Plaintiffs claim they were defamed, but not by fraud or deception. The unfair competition theory

is not based upon fraud by deception. Plaintiffs theory is limited to Defendants’ “false and

misleading statements” that were intended to “influence supporters’ decisions to provide

financial support,” or purchase “goods and services,” See Am. Compl. ¶¶ 105-09. This is where

Plaintiffs misconstrue the four-year statute of limitations. Lanham Act violations must be rooted

in fraud. Because there were no allegations of fraud, the four-year statute of limitations does not

apply. See Nationwide Bi-Weekly Admin., Inc. v. Belo Corp., 512 F.3d 137, 147 (5th Cir. 2007)

(“. . . Texas courts have applied a one-year statute of limitations to business disparagement

claims when the gravamen of the complaint is defamatory injury to the plaintiff’s reputation. .

.”).

       IV.      Plaintiffs’ failed to file written corrective notice under Texas Defamation
                Mitigation Act

             Plaintiffs did not allege they provided any written notice at all, pursuant to the TDMA.

By the time plaintiffs came to add Stone as a party in Texas, the statute of limitations had

expired. See Nationwide Bi-Weekly Admin., Inc. v. Belo Corp., 512 F.3d 137, 141 (5th Cir.

2007). Plaintiffs claim that when the complaint was transferred from the District of the District

of Columbia, so did that District’s statute of limitations. Presumably, plaintiffs are applying

some type of relation back theory. (Response pg. 16). Plaintiffs do not cite to any authority.

District Judge Kelly had no jurisdiction over Stone since Stone was not a defendant in the

District of Columbia version of the complaint.




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   V.       Defamation related causes of action must be dismissed -- the statute of
            limitations

         Plaintiffs gloss over the fact that they did not sue Stone until the statute of limitations

expired in this District. Plaintiffs respond with: “There as set forth in previous briefs, this

argument ignores the fact that this action was filed first in the U.S. District Court for the District

of Columbia and was transferred to this Court after the fact. Indeed, the Honorable Timothy

Kelly (“Judge Kelly”) mooted out this issue in his March 3, 2020 order transferring the case to

this Court.” (Response pg. 16-17). That would be a sufficient argument but for the fact Stone

was not a defendant in the District of the District of Columbia. The statute of limitations does not

transfer or relate back to a defendant that has not yet been sued. Judge Kelly’s justification for

transfer recognized that the transfer to this District would not prejudice defendants; but it does

prejudice Stone, a nonparty to the original action. See Corsi v. InfoWars, LLC, 2020 WL

1156864, at *3 (D.D.C. Mar. 10, 2020). Stone in his motion to dismiss never advocated

application of Florida law as plaintiffs assert. Thus, the defamation claims fail based upon lack

of notice and statute of limitations.

   VI.      Plaintiffs are Public Figures – the standard is malice

         Recognizing that Plaintiffs cannot sufficiently allege malice, they vacillate between being

media personalities, political commentators, generally very important people, and known public

figures, to private targets. Compare Am. Compl. ¶¶ 3, 4, 70 with (Response pg. 9-10).

Somewhere between their egos and the argument for a lesser standard, plaintiffs fail to

sufficiently allege malice. First, Klayman has sought to be a public figure his entire career. He

has included his curriculum vitae as an exhibit in every lawsuit he has filed against Stone.

Writing about himself: “Larry became so famous for fighting corruption in the government and

the legal profession that the NBC hit drama series ‘West Wing’ created a character after him.”

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(Response pg. 67). Second, courts have concluded: “Because of Klayman’s notoriety and high-

profile work in the public realm, the Court considers Klayman a public figure.” Klayman v.

Judicial Watch, Inc., 22 F. Supp. 3d 1240, 1251 (S.D. Fla. 2014), aff'd (Feb. 17, 2015), see also

Klayman v. City Pages, 13-CV-143-OC-22PRL, 2015 WL 1546173, at *13 (M.D. Fla. Apr. 3,

2015), aff'd, 650 Fed. Appx. 744 (11th Cir. 2016), and aff'd, 650 Fed. Appx. 744 (11th Cir. 2016)

(Klayman admits that he is a public figure).

        A district court writing about Corsi stated: “Having become such well-known proponents

of one position on the issue, [President Obama was not a natural born citizen and therefore not

qualified to be President], Plaintiffs [Corsi and Farah] cannot complain that the very intensity of

their advocacy also became part of the public debate. Those who speak with loud voices cannot

be surprised if they become part of the story.” Farah v. Esquire Magazine, Inc., 863 F. Supp. 2d

29, 37 (D.D.C. 2012), aff'd sub nom. Farah v. Esquire Magazine, 736 F.3d 528 (D.C. Cir. 2013).

Certainly, Corsi is a public figure in the context of the Mueller investigation. He made himself

part of the story. Regardless, plaintiffs argue that they adequately pled malice, but they have

failed. (Response pg. 10). Malice is a high standard. Peter Scalamandre & Sons, Inc. v.

Kaufman,113 F.3d 556, 561 (5th Cir. 1997). Plaintiffs must plausibly allege that Stone’s

statements were false and Stone knew they were false before they were uttered. See Gertz v.

Robert Welch, Inc., 418 U.S. 323, 345 (1974).

        Just because Klayman left Judicial Watch and then ran for the Senate, does not mean he

left Judicial Watch in order to run for the Senate. He left Judicial Watch under a cloud. He

admitted to having or trying to have a relationship with a staffer.2 The Fifth Circuit held that “the


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  Klayman was in the midst of a divorce. His ex-wife alleged he had an inappropriate relationship with a Judicial
Watch employee and assaulted her physically. Klayman was in love with the employee and bought her gifts and had
kissed her. This was at odds with a conservative, pro-family organization. He was asked to resign. Klayman offered
to resign. Klayman v. Judicial Watch, Inc., 247 F.R.D. 10, 12 (D.D.C. 2007).

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subjective awareness of probable falsity required by St. Amant v. Thompson, 390 U.S. 731

(1968), cannot be found where, as here, the publisher’s allegations are supported by a multitude

of previous reports upon which the publisher reasonably relied.”Rosanova v. Playboy

Enterprises, Inc., 580 F.2d 859, 862 (5th Cir. 1978). Such reports Stone reasonably relied upon

among others were:

         The United States Court of Appeals for the Ninth Circuit noted how “the district court

found quite relevant, ‘numerous other courts’ findings that he [Klayman] is unfit to practice’

based on his ‘inappropriate and unethical behavior.’” In re Bundy, 840 F.3d 1034, 1045 (9th Cir.

2016). The Ninth Circuit cited:

                 “Klayman’s record demonstrates more than an occasional lapse of judgment, it
                  evinces a total disregard for the judicial process.” Order Denying Pro Hac Vice
                  Application at 4, Stern v. Burkle, 867 N.Y.S.2d 20 (Sup. Ct. 2008).3

                 Klayman was sanctioned for filing an untimely complaint and opposing the
                  government’s motion with “frivolous filings” that “wasted time and resources of
                  defendants as well as of the court.” Wire Rope Importers’ Ass’n v. United States,
                  18 C.I.T. 478, 485 (Ct. Int’l Trade 1994).

                 Klayman exhibited “often highly inappropriate behavior” and his performance
                  “was episodically blighted by rude and unprofessional behavior which was
                  directed toward the presiding judge and opposing counsel.” Material Supply Int'l,
                  Inc. v. Sunmatch Indus., Co., No. Civ. A. 94–1184, 1997 WL 243223 at *8, *10
                  n.7 (D.D.C. May 7, 1997), aff'd in part and reversed in part, 146 F.3d 983 (D.C.
                  Cir. 1998).

                  Klayman “apparently misread (or never read) the local rules” and the district
                  court threatened sanctions for any future failures to comply with local
                  rules. Alexander v. FBI, 186 F.R.D. 197, 199 (D.D.C. 1999). The district court


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   That having been said, the First Verified Amended Complaint, a thirty-eight page, one-hundred and eight
paragraph document, can most accurately be described as a political diatribe drawn by Larry Klayman of Freedom
Watch, Inc., an avowed enemy of the Clintons. The Complaint contains all of the buzzwords calculated to evoke
visions of licentious behavior, conspiracy and criminality. There are references to Anthony Pellicano, Monica
Lewinsky, “Whitewater”, “Filegate”, “Travelgate”, “Chinagate” and Mr. Burkle's alleged illicit sexual liaisons. In
short, the Complaint reads more like a Mickey Spillane novel than a “statement ... sufficiently particular to give the
court and parties notice of the transactions or occurrences, or series of transactions or occurrences, intended to be
proved and the material elements of each cause of action ...” (CPLR 3013). Stern v. Burkle, 20 Misc. 3d 1101(A)
(N.Y. Sup. Ct. 2008).


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               “gr[ew] weary of [Klayman's] use—and abuse—of the discovery process” and
               “ha[d] already sanctioned [Klayman] for making misrepresentations to the court,
               allowing the court to rely upon those representations in a favorable ruling, and
               then later contravening those very (mis)representations.” Alexander v. FBI, 186
               F.R.D. 188, 190 (D.D.C. 1999).

              Klayman responded to the district court's orders with a “forked tongue” and made
               arguments with “malicious glee.” Judicial Watch of Fla., Inc. v. U.S. Dep't of
               Justice, 159 F.Supp.2d 763, 764 (D.D.C. 2001).

              Klayman made arguments regarding the conduct of the district court that were
               “bizarre” and “beyond the far-fetched.” Dely v. Far E. Shipping Co., 238
               F.Supp.2d 1231, 1241 (W.D. Wash. 2003).

       Additionally, it is public record that Klayman, during divorce proceedings was found to

have “on more than one occasion the Plaintiff [Klayman] act [sic] in a grossly inappropriately

[sic] manner with the children. His conduct may not have been sexual in the sense that he

intended to or did derive any sexual pleasure from it or that he intended that the children would.

That, however, does not mean that he didn’t engage in those acts or that his behavior was

proper.” Klayman v. City Pages, 650 Fed. Appx. 744, 746 (11th Cir. 2016) (citing records from

Klayman’s 2009 divorce hearing regarding Klayman’s behavior towards his own children).

       Lastly, Klayman is currently on suspension with the D.C. Bar. In re Klayman, 228 A.3d

713, 720 (D.C. 2020). Additionally, since the filing of the motion to dismiss, the D.C. Bar has

recommended an additional 18-month suspension for Klayman for harassing a former client. See

In re Klayman, 17-BD-063, Report & Recommendation at 32-33 (Oct. 2, 2020) (“In sum, we

find clear and convincing evidence that casts a serious doubt upon [Klayman’s] continuing

fitness to practice law”). ECF No. [83 – 1]. If Stone’s opinion is that Klayman is not a good

lawyer, good person, and is dumb; and Corsi is in dire trouble if he employs Klayman as his

lawyer, does not meet the malice standard. See Rosanova, 580 F.2d at 862. According to the




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allegations in the complaint, Defendants presumably know all of the above because defendants

are “intimately familiar” with plaintiffs. See Am. Compl. ¶ 39.

       In response, plaintiffs attach exhibits in their response in an attempt to add circumstantial

allegations into the amended complaint. In short, plaintiffs’ opinion of themselves as wonderful

writers, speakers, and lawyer does not properly impute sufficient allegations in the complaint and

overcome the failure to allege malice, but it does reinforce that they are public figures. Lastly,

repeating claims of “mafia” tactics, alleged threats toward others (not plaintiffs), and other dirty

tricks does not sufficiently allege defamation by Stone or a conspiracy with other defendants.

ECF No. [70 pg. 24].

   VII.    Intentional Infliction of Emotional Distress (Count IV) & Assault (Count V)

       Plaintiffs recognize that “With the possible exceptions of the bomb and death threats no

single action… rises to the level of intentional infliction of emotional distress.” (Response pg.

14) (citing Household Credit Services, Inc. v. Driscol, 989 S.W.2d 72, 82 (Tex. App.—El Paso

1998, pet. denied). The subject statement: “Looking forward to our confrontation, I will

demolish you,” in the context of a radio show concerning the issue of Corsi lying to the Special

Counsel is at worst a threat of cross-examination in court, not death.

       Plaintiffs use lawsuits to gratuitously and recklessly make false claims and connections to

Stone based upon their flawed perceptions. Notably, Plaintiffs at every opportunity claim that

Stone threatened a district court judge. (Response pg. 1). Stone did not threaten any judge.

Stone’s bond was never revoked and no criminal charges were filed against him for the alleged

conduct. Plaintiffs know that the district court must limit its review to the four corners of the

complaint. Yet, Plaintiffs inundated the docket with pages of declarations and other irrelevant




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exhibits. Plaintiffs never keep their eye on the ball. They fail to connect facts relating to them

and only them.

       Most importantly, Plaintiffs were not injured in Texas. Both allege to reside in other

states. Plaintiffs failed to address the argument that the torts of intentional infliction of emotional

distress and assault must be alleged to have occurred in Texas. Because both plaintiffs reside in

different states, plaintiffs fail to plausibly allege an imminent assault. See Texas Penal Code §

22.01(a)(2). As a result, their claims are frivolous.

   VIII. Judge Altman’s Order is Instructive

       Stone did not suggest Judge Altman’s Order is controlling. Stone argued to the Court that

the Order is worth reviewing, just like the order transferring venue from the District of the

District of Columbia. That suggestion also puts plaintiffs on notice that suing Stone in this

District is frivolous. Plaintiffs had an opportunity to amend their complaint to comply with

Federal Rules of Civil Procedure 8(b) and 10(b). Id. ECF No. [57-2] (Order more definite

statement and to show cause).

       Plaintiffs did not amend when given fair warning what district court judges think about

the operative complaint. Klayman claims that he asked District Judge Altman if he was biased

against him and the court failed to respond. (Response pg. 17). No record of that request is

evident. Regardless, Klayman does not learn from past foibles. "Significantly, Mr. Klayman has

a history of accusing judges of bias or prejudging cases." Macdraw, Inc. v. CIT Group Equip.

Fin., Inc., 994 F. Supp. 447, 459 (S.D.N.Y. 1997), aff'd, 138 F.3d 33 (2d Cir. 1998). Mr.

Klayman’s pro hac status was revoked in that case in the Southern District of New York and he

must submit that court order every time he seeks admission there. Id. The point: Plaintiffs should

have heeded Judge Altman’s Order rather than presume bias, because the shotgun pleading



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blasted across the country does not comply with the Federal Rules of Civil Procedure anywhere

in our federal system. Because Plaintiffs failed to amend their complaint to comply with 8(b) and

10(b), the Court should dismiss the case in this District.

                                          CONCLUSION

     Plaintiffs did not alternatively seek permission to amend the complaint again. Based on the

foregoing, the amended complaint should be dismissed with prejudice.



                                              Respectfully submitted,

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                                                     W.D. Texas)




                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above document was filed and served

upon all parties of record on October 13, 2020 by CM/ECF, the court’s electronic filing system.

                                              By: __/s/ _Robert Buschel__________
                                                     ROBERT C. BUSCHEL




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                                                           Owen Shroyer
                                                           (Defendant)

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                                              Infowars, LLC
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